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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


CHARLES L. BURTON, JR.,                       )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )     No. 2:19-cv-00242-RAH
                                              )
JEFFERSON S. DUNN, Commissioner,              )
Alabama Department of Corrections,            )
in his official capacity,                     )
                                              )
      Defendant.                              )


                       DEFENDANT’S STATUS REPORT

      Comes now Jefferson S. Dunn, Commissioner of the Alabama Department of

Corrections, Defendant in the above styled cause, and in accordance with this

Court’s order of July 6, 2021 (Doc. 91), submits the following status report:

      1.     This Court ordered Defendant to indicate in its status report “the

progress it has made in developing its nitrogen hypoxia protocol.” (Id. at 2).

      2.     The ADOC has completed the initial physical build of the nitrogen

hypoxia system. A safety expert has made a site visit to evaluate the system. As a

result of the visit, the ADOC is considering certain additional health and safety

measures.

      3.     At this time, the ADOC has not produced a nitrogen hypoxia execution



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protocol. The protocol will not be written until the ADOC is satisfied that its system

is ready.

      4.     The ADOC has not made a final decision as to whether a spiritual

advisor can be safely accommodated in the execution chamber during a hypoxia

execution. The ADOC anticipates, however, that this decision can be made prior to

the production of the final protocol.


                                        Respectfully submitted,

                                        Steve Marshall
                                        Alabama Attorney General

                                        /s/ Lauren A. Simpson
                                        Lauren A. Simpson
                                        Alabama Assistant Attorney General
                                        Counsel for Defendant




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                         CERTIFICATE OF SERVICE

      I certify that on August 2, 2021, I served a copy of the foregoing upon counsel

for the Plaintiff by filing the same via the Court’s CM/ECF system, which shall

cause the same to be electronically transmitted to: Anand Agneshwar, Spencer J.

Hahn, John Anthony Palombi, Matt D. Schulz, Paige Sharpe, James A. Sonne,

Anna Thompson, and Zeba A. Huq.


                                      Respectfully submitted,

                                      Steve Marshall
                                      Alabama Attorney General

                                      /s/ Lauren A. Simpson
                                      Lauren A. Simpson
                                      Alabama Assistant Attorney General
                                      Counsel for Defendant


OF COUNSEL:

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